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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DIVISION

AUTO-OWNERS INSURANCE,                        )
                                              )
        Plaintiff,                            )      Case No.: 1:19-cv-00066-SNLJ
                                              )
v.                                            )
                                              )
BLAIR LEASING, LLC,                           )
                                              )
        Defendant.                            )

BLAIR LEASING, LLC,                           )
                                              )
        Counter-Plaintiff,                    )
                                              )
v.                                            )
                                              )
AUTO-OWNERS INSURANCE,                        )
                                              )
        Counter-Defendant.                    )

                 UNOPPOSED MOTION TO EXTEND SCHEDULING ORDER
                           DEADLINE FOR DISCOVERY

        COMES NOW Defendant and Counter-Plaintiff, Blair Leasing, LLC (“Defendant”), and

hereby submits the foregoing Unopposed Motion to Extend Scheduling Order Deadline

(“Motion”) of the current Case Management Order [Doc. 10]. In support thereof, Defendant states

the following:

        1.       Per the Court’s Case Management Order, discovery was originally due by April 30,

2020.

        2.       On March 19, 2020, the parties requested an extension to complete discovery due

to the COVID-19 pandemic. [See Doc. 26.]

        3.       This request was granted on March 23, 2020, extending the discovery deadline to

6/30/2020. [See Doc. 27.]
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        4.     Defendant now seeks another short extension on the deadline for Discovery

deadlines to complete two (2) depositions the parties are currently scheduling by agreement.

        5.     Specifically, the depositions of Auto-Owners’ corporate representative and claim

representative were previously requested and counsel are working to accommodate the deponents’

schedules and current travel restrictions.

        6.     The parties anticipate these depositions will be completed by Monday, August 3,

2020.

        7.     On June 16, 2020, Defendant also sent a good faith letter to opposing counsel

regarding a request for supplementation of certain discovery. The parties are currently working to

resolve the discovery dispute without court intervention; however, if the dispute cannot be resolved

it may be necessary for the court to become involved.

        8.     Accordingly, Defendant respectfully requests an extension to August 3, 2020, to

complete these two (2) depositions and a pending discovery dispute.

        9.     Counsel for both parties have conferred, and Plaintiff does not oppose this Motion.

        10.    Defendant affirms that this Motion is not submitted for the purposes of delay, and

neither party will be prejudiced should the Court grant this Motion.

        11.    Parties have been working diligently on this case. Discovery has been complicated

as a result of the COVID-19 pandemic.

        WHEREFORE, premises considered, Defendant respectfully requests the Court grant this

Motion to Extend Scheduling Order Deadline as referenced hereinabove.




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                                            Respectfully submitted,

                                            /s/ J. Drew Houghton
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                                            Attorneys for Defendant



                               CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the foregoing was served by the
Court’s electronic filing system, this 30th day of June, 2020, to all counsel of record.


                                            /s/ J. Drew Houghton




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